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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                   MONROE DIVISION


  PHILLIP CALLAIS ET AL                              CASE NO. 3:24-CV-00122

  VERSUS                                             CIRCUIT JUDGE CARL E. STEWART,
                                                     DISTRICT JUDGES ROBERT R.
                                                     SUMMERHAYS AND DAVID C. JOSEPH
  NANCY LANDRY, ET AL                                MAG. JUDGE KAYLA D. MCCLUSKY

                                    MINUTES OF COURT:
                                   STATUS CONFERENCE
   Date:               May 6, 2024      Presiding:              Judges Carl E. Stewart, Robert R.
                                        Summerhays, and David C. Joseph
   Court Opened:       10:31 AM         Courtroom Deputy:       Lisa LaCombe
   Court Adjourned: 11:37 AM            Court Reporter:         Jodi Terry
   Statistical Time:   1:06             Courtroom:              Zoom Recording
                                      APPEARANCES
   Paul L Hurd                                For       Phillip Callais, All Plaintiffs
   Edward D Greim                             For       Phillip Callais, All Plaintiffs
   Katherine Graves                           For       Phillip Callais, All Plaintiffs
   Jackson Tyler                              For       Phillip Callais, All Plaintiffs
   Stuart Naifeh                              For       Robinson Intervenor Defendants
   John Adcock                                For       Robinson Intervenor Defendants
   Amitav Chakraborty                         For       Robinson Intervenor Defendants
   Garrett Muscatel                           For       Robinson Intervenor Defendants
   Arielle B McTootle                         For       Robinson Intervenor Defendants
   Jonathan Hurwitz                           For       Robinson Intervenor Defendants
   Robert Klein                               For       Robinson Intervenor Defendants
   Daneil Hessel                              For       Robinson Intervenor Defendants
   Alora Thomas                               For       Robinson Intervenor Defendants
   Sara Rohani                                For       Robinson Intervenor Defendants
   Colin Burke                                For       Robinson Intervenor Defendants
   Victoria Wenger                            For       Robinson Intervenor Defendants
   R. Jared Evans                             For       Robinson Intervenor Defendants
   Morgan D. Brungard                         For       Louisiana Attorney General’s Office
   Cary T. Jones                              For       Louisiana Attorney General’s Office
   Jason Brett Torchinsky                     For       Louisiana Attorney General’s Office
   Brennan A.R. Bowen                         For       Louisiana Attorney General’s Office
   Zachary D. Henson                          For       Louisiana Attorney General’s Office
   Phillip M. Gordon                          For       Louisiana Attorney General’s Office
   Drew Ensign                                For       Louisiana Attorney General’s Office
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   Phillip J. Strach                               For      Nancy Landry, La. Secretary of State
   Alyssa M. Riggins                               For      Nancy Landry, La. Secretary of State
   John C. Walsh                                   For      Nancy Landry, La. Secretary of State
   Abha Khanna                                     For      Edward Galmon, Sr. Intervenors
   Qizhou Ge                                       For      Edward Galmon, Sr. Intervenors
   Lalitha Madduri                                 For      Edward Galmon, Sr. Intervenors
   Jacob D. Shelly                                 For      Edward Galmon, Sr. Intervenors
   Sam Hirsch                                      For      Michael Mislove, Amici
   Jessica Ring Amunson                            For      Michael Mislove, Amici
   Judy Barrasso                                   For      Michael Mislove, Amici

                                         PROCEEDINGS

  The Court held a Status Conference via Zoom Video Conference.

  The Court requested the parties jointly propose a briefing schedule for the remedial phase of the
  trial by the close of business tomorrow, May 7, 2024.

  The State of Louisiana will file a brief by close of business tomorrow, May 7, 2024, explaining
  the feasibility of the Louisiana Legislature enacting a new Congressional map in time for the
  2024 Congressional election. Among the other items discussed, the brief shall clearly state
  whether there is a legislative vehicle to enact a new congressional districting map during the
  2024 regular session.

  Defendant, Nancy Landry, Secretary of State, was directed to file a brief by the end of the day
  outlining and explaining the applicable deadlines for the upcoming Congressional election.

  The Court will consider the briefing and the parties’ scheduling proposals and enter a scheduling
  order forthwith.
